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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                               NEWPORT NEWS DIVISION


  HERBERT H. MULLINEX, JR.                    )
  and PATRICIA E. MULLINEX,                   )
                                              )
                Plaintiffs,                   )
                                              )
  v.                                          )       Case No.: 4:18-cv-00033-RAJ-DEM
                                              )
  JOHN CRANE INC., et al,                     )
                                              )
                Defendants.                   )


                     JOHN CRANE INC.’S RESPONSE TO PLAINTIFFS’
                     SUGGESTION OF DEATH PURSUANT TO FRCP 25

         In her Suggestion of Death Pursuant to FRCP 25 [ECF No. 436], Plaintiff Patricia

  Mullinex does more than simply notify the Court and John Crane Inc. (“JCI”) of her late husband

  Herbert Mullinex’s passing. She instead takes the additional opportunity – for reasons that are

  unclear given the ostensible purpose of the filing – to advance a legal argument regarding the

  survival of Mr. Mullinex’s claim for damages.

         Given that ECF No. 436 is of no legal consequence – it moves the Court for no relief of

  any kind – JCI will offer in response that ECF No. 436 misstates the law on the availability of a

  survival action under general maritime law. JCI will respond accordingly to the motion to amend

  referenced by Mrs. Mullinex in ECF No. 436.

  Dated: November 22, 2021

                                                      Respectfully submitted,
                                                      JOHN CRANE INC.
                                                      Defendant


                                              By:     /s/ Eric G. Reeves
                                                               Counsel
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of November, 2021, a true and accurate copy of the

  foregoing was filed electronically using the CM/ECF system, which will then send a notification

  of such filing (NEF) to all counsel of record.


                                        /s/ Eric G. Reeves
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